       Case 4:11-cr-00290-LPR           Document 582        Filed 06/11/15       Page 1 of 2




                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION

UNITED STATES OF AMERICA                                                                PLAINTIFF

v.                                  NO. 4:11CR00290-01 JLH

CLAUDIA SUAREZ                                                                        DEFENDANT

                                              ORDER

       On July 15, 2013, this Court sentenced Claudia Suarez to a term of imprisonment of 100

months for conspiracy to possess with intent to distribute oxycodone in violation of 21 U.S.C.

§§ 846 and 841(a)(1) and (b)(1)(C). Her sentence was subsequently reduced to 80 months pursuant

to 18 U.S.C. § 3582(c)(2) because the guideline range pursuant to which she was sentenced had

subsequently been lowered and made retroactive by the United States Sentencing Commission.

Suarez has now filed a motion for reconsideration of her sentence, requesting credit for time that she

was under pretrial supervision although not actually detained.

       Eighteen U.S.C. § 3582(c) provides that the Court may not modify a term of imprisonment

once it has been imposed except in certain limited circumstances, none of which is present here. In

short, the Court lacks the authority to consider or modify Suarez’s sentence.

       Furthermore, the Bureau of Prisons is responsible for computing the sentence credit after a

defendant has begun serving a sentence. United States v. Wilson, 503 U.S. 329, 335, 112 S. Ct.

1351, 1355, 117 L. Ed. 2d 593 (1992). Prisoners are entitled to administrative review of the

computation of their credits by the Bureau of Prisons under the procedures set out in 28 C.F.R. §§

542.10-542.19. After properly exhausting her administrative remedies, an inmate may seek judicial

review by filing a habeas corpus petition in the district where she is detained under 28 U.S.C. §
       Case 4:11-cr-00290-LPR         Document 582        Filed 06/11/15     Page 2 of 2




2241. Wilson, 503 U.S. at 335, 112 S. Ct. at 1355; United States v. Pardue, 363 F.3d 695, 699 (8th

Cir. 2004).

       For these reasons, Claudia Suarez’s motion for reconsideration of her sentence is DENIED.

Document #581.

       IT IS SO ORDERED this 11th day of June, 2015.



                                                    _________________________________
                                                    J. LEON HOLMES
                                                    UNITED STATES DISTRICT JUDGE




                                                2
